                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

J.B., on behalf of her minor child, K.E.,

                        Plaintiff,

        vs.                                                Case No. 1:21-cv-632 MV/SCY
                                                          (consolidated with Civ. No.
                                                                 21-1032 MV/SCY)
 COACH DANNY CHARLEY, in his
 Individual capacity,

                       Defendant.

                                             ORDER

       THIS MATTER comes before the Court on the Unopposed Motion to Substitute K.E. as

Plaintiff, Amend Caption, Waive Rule 16 Scheduling Conference, and Allow Discovery to

Proceed in Accordance with this Court’s Order [Doc. 35]. The Court, having reviewed the Motion,

finds that it is well-taken and should be granted.

   IT IS THEREFORE ORDERED that:

   1. The cases, J.B., on behalf of her minor child, K.E. v. Coach Danny Charley, case no. 1:21-

       cv-632 MV/SCY, and K.E. by and through her mother, J.B. v. The Board of Education of

       the Rio Rancho Public Schools, case no. 1:21-cv-01032 MV/SCY are CONSOLIDATED

       as 1:21-cv-632 MV/SCY.

   2. K.E. is substituted as Plaintiff for J.B.

   3. The caption shall be amended as:

                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

       K.E.,

       Plaintiff,
   vs.                                                    Case No. 1:21-cv-632 MV/SCY

   COACH DANNY CHARLEY, in his
   Individual capacity, and THE BOARD
   OF EDUCATION OF THE RIO RANCHO
   PUBLIC SCHOOLS,

           Defendants.

4. Further, discovery may proceed as to all witnesses and all other parties except discovery

   addressed to Defendant Charley including the taking of his deposition and issuance of any

   written discovery to him (e.g. requests for admission, inspection, or production, and

   interrogatories) until such time as the Court determines whether a guardian ad litem should

   be appointed for Defendant Charley and the Court determines whether a limited stay of

   discovery should be entered as requested by Defendant Charley. See Court’s Order [Doc.

   35].

5. The Rule 16 Scheduling Conference will be waived in lieu of a status conference to

   determine a viable date for a settlement conference.

6. As a result of this Order, Plaintiff’s Motion for Appointment of J.B. as Next Friend and to

   Amend the Case Caption, filed as Doc. 7 in Case No. 21-cv-1032 MV/SCY is FOUND AS

   MOOT.



                                         ________________________________________
                                         MARTHA VÁZQUEZ
                                         UNITED STATES DISTRICT JUDGE




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